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A024SB (Rev. 11/16)Judgment ma Criminal Case
          Sheet I



                                      United States District Court
                                                District Of South Dakota, Southern Division

             UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                                 V.



                        Kristin DeBoer                                           Case Number:             4:18CR40086-1

                                                                                USM Number:               17673-273

                                                                                 John C. DePranco/ Thomas J. Von Wald
                                                                                Defendant's Attorney
THE DEFENDANT:

I pleaded guilty to count(s)      1 of the Information.


□ pleaded nolo contendere to count(s)
  which was accepted by the Court.
□ was found guilty on count(s)
   after a plea of not guilty.
The defendant is adjudicated guilty of these offenses;

Title & Section                             Nature of Offense                                                   Offense Ended           Count
18U.S.C.§1343                               Wire Fraud                                                          05/11/2016                 1




The defendant is sentenced as provided in this Judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

□ The defendant has been found not guilty on count(s)

□ Count(s)                                                                         □ is □ are dismissed on the motion of the United States.


it is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this Judgment are fully paid. If ordered to pay restitution,
the defendant must notify the Court and United States attorney of material changes in economic circumstances.

                                                                         11/18/2019
                                                                        .Dais of Imposition of Judgment
                                                                                               ludgment




                                                                                              mjUs£u—
                                                                       Mignacure of Judge



                                                                         Lawrence L. Piersol. United States District Judge
                                                                         Name and Tide of Judge




                                                                         Daa
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AO 245B    (Rev. 11/16)Judgment in a Criminal Case
           Sheet 4 - Probation


 DEFENDANT:.                     Kristin DeBoer
 CASE NUMBER:                    4:18CR40086-1




                                                                PROBATION

You are hereby sentenced to probation for a term of: 2 years.


                                                     MANDATORY CONDITIONS
1.   You must not commit another federal, state, or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days ofrelease from
     probation and at least two periodic drug tests thereafter, as determined by the Court.
           ■     The above drug testing condition is suspended, based on the Court's determination that you pose a low risk offiiture
                 substance abuse. (Check, ifapplicable.)
4. ■       You must cooperate in the collection ofDNA as directed by the probation officer. (C/iect,
5.. □      You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. §.20901, etseq.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in.which you reside,
           work, are a student, or were convicted of a qualifying offense. (CAecA, i/ajsp/icaAfe;
6. □       You must participate in an approved program for domestic violence pursuant to 18 U.S.C. § 3563(a)(4). (Check, ifapplicable.)
7.   □     You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other state authorizing a sentence of
           restitution. (Check, ifapplicable.)
8.   You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
9. If this Judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this Judgment.
10. You must notify the Court of any material change in your economic circumstances that might affect your ability to pay restitution, fines,
     or special assessments.

You must comply with the standard conditions that have been adopted by this Court as well as with any other conditions on the attached
page.
         Case 4:18-cr-40086-LLP Document 51 Filed 11/21/19 Page 3 of 7 PageID #: 172



AO 245B (Rev. 11/16)Judgment in a Criminal Case
          Sheet 4A - Probation



DEFENDANT:                       Kristin DeBoer
CASE NUMBER:                     4:18CR40086-1

                                        STANDARD CONDITIONS OF SUPERVISION

As part of your probation, you must comply with the following standard conditions ofsupervision. These conditions are imposed because
they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers
to keep informed, report to the Court about, and bring about improvements in your conduct and condition.

 1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours from the
    time of your sentence, unless the probation officer instructs you to report to a different probation office or within a different time
     frame.

 2. After initially reporting to the probation office, you will receive instructions from the Court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
 3. You must not knowingly leave the federal Judicial district where you are authorized to reside without first getting permission from the
      Court or the probation officer.
 4. You must answer truthfully the questions asked by your probation officer.
 5. You must live at a place approved by the probation officer. If you plan to change Where you live or anything about your living
    arrangements(such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
    the probation officer in advance is not possible due to unanticipated circumstances, you must notify the jDrobation officer within 72
      hours of becoming aware of a change or expected change.
 6. You must allow the probation officer to visit you at reasonable times, at your home or elsewhere, and you must permit the probation
    officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
 7. You must work fiill time (at least 30 hours per week)at a lawful type ofemployment, unless the probation officer excuses you from
    doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work(such as your position or your Job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
 8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
    convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission ofthe
      probation officer.
 9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 10. You must not own, possess, or haye access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
     designed, or was modified for, the specific.purpose of causing bodily injury or death to another person such as nunchakus or tasers).
 11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission ofthe Court.
 12. Ifthe probation officer determines that you pose a risk to another person (including an organization),the probation officer may require
      you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the person and
      confirm that you have notified the person about the risk.
 13. You must follow the instructions ofthe probation officer related to the conditions of supervision.
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AO 24SB     (Rev. 11/16)Judgment in a Criminal Case
            Conditions of Supervision


DEFENDANT:                  Kristin DeBoer
CASE NUMBER:                4:18CR40086-1


                                         SPECIAL CONDITIONS OF SUPERVISION



    1. You must complete 40 hours ofcommunity service work as directed by the probation office.

    2. You must be placed in home confinement for a period of4 months,to commence upon Judgrnent. You must
       be monitored by electronic monitoring technology, if and as directed by the probation office in the District
          ofIdaho. You must abide by the Home Confinement Participant Agreement and all technology requirements.
          Further, you must pay all or part ofthe costs ofparticipation in the electronic monitoring program as directed
          by the court or probation office.




U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the Court and has provided me with a written copy of this
Judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
          Co«c?/V/o«s', available at: www.uscourts.gov.                                                                   -


Defendant's Signature                                     ^           ^     i                  Date
           Case 4:18-cr-40086-LLP Document 51 Filed 11/21/19 Page 5 of 7 PageID #: 174



AO 245B. (Rev. 11/16)Judgment in a Criminal Case
         Sheet 5 — Criminal Monetary Penalties

 DEFENDANT:                         Kristin DeBoer
 CASE NUMBER:                       4:18CR40086-1

                                             CRIMINAL MONETARY PENALTIES

       You must pay the total criminal monetary penalties under the Schedule ofPayments set below.

   ;                 Assessment               AVAA Assessment*         JVTA Assessment**          Fine                 Restitution
 TOTALS              $100                     Not Applicable           Not Applicable             Waived               None


 □       The determination of restitution is deferred until
         An .dffjentfet/JMtfgwen/   a Cnw/na/Core (^0 24jg will be entered after such determination.

 □       You must make restitution (including community restitution) to the following payees in the amount listed below.

         If you make a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in the
         priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
         before the United States is paid.

 Namp nf Pavpp                                           Total Loss***               Restitution Ordered            Priority or Percentage




  TOTALS


  □      Restitution amount ordered pursuant to Plea Agreement $

  □      You must pay interest On restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the >
         fifteenth day after the date of the Judgment, pursuant to 18 U.S.C. § 3612(f). Allbfthe payment options on the Schedule of Payments
         may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).


  □     . The Court determined that you do not have the ability to pay interest and it is ordered that:

         □       the interest requirement is waived for the      □    fine    □' restitution.
         □       the interest requirement for the    p        fine    p      restitution is rnodified as follows:


  *The Amy, Vicky, & Andy Child Pornography Assistance Act of 2018.
  **Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
  ***Findings for the total amount of losses are required under Chapters 109A, 110,110A, and 113 A of Title 18 for offenses committed on
  or after September 13,1994, but before April 23, 1996.
             Case 4:18-cr-40086-LLP Document 51 Filed 11/21/19 Page 6 of 7 PageID #: 175



A0245B       (Rev. 11/16)Judgment in a Criminal Case
             Sheet6 — Schedule of Payments


DEFENDANT:                             JCristin DeBoer
CASE NUMBER:                           4:18CR40086-1                                      ,
                                                                                                                        /'




                                                             SCHEDULE OF PAYMENTS

Having assessed your ability to pay, payment ofthe total criminal monetary penalties is due as follows:

A        ■      Lump sum payment of              $100                due immediately, balance due

               □      not later than                                     , or

               □      in accordance with         □      C,    □     D,      □       E, or     □ F below; or


B        □      Payment to begin immediately, (may be combined with                 DC,         □     D, or     □ F below); or

C        □      Payment in equal                         (e.g., weekly, monthly, quarterly) installments of                     ,
                to commence                       ^                        (e.g., 50 or         after the date of this Judgment; or

D        □      Payment in equal                         (e.g., weekly, monthly, quarterly) mskiLWmenls of %                    ,
                to commence                  '                             (e.g., 30 or 60 days) after release from imprisonment to a
                term of supervision; or

                Payment of the total restitution and other criminal monetary penalties shall be due' in regular quarterly installments of 50% of
         □
                the deposits in your inmate trust account while the you are in custody, or 10% of your inmate trust account while serving
                custody at a Residential Reentry Center. Any portion of the monetary obligation(s) not paid in full prior to your release from
                custody shall be due in monthly installments of $         _, siich payments to begin          days following your release.


 F       □      Special instructions regarding the payment of criminal monetary penalties:




Unless the Court has expressly ordered otherwise, if this Judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' ,
Inmate Financial Responsibility Program, are made to the clerk of the court.

You shall receive credit for all payments previously made toward any criminal monetary penalties irnposed.
□        Joint and Several
         Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
         and corresponding payee, if appropriate.



□        You shall pay the cost of prosecution.

□        You shall pay the following court cdSt(s):
□        You shall forfeit your interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restimtion interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
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AO 245 SCR         (Rev. 09/15) Judgment in a Criminal Case
                   Attachment(Page I):—Statement of Reasons

DEFENDANT:                  Kristin DeBoer                                                                                /
CASE NUMBER:                4:18CR40086-1
DISTRICT:                   South Dakota
                                                    STATEMENT OF REASONS
                                                           (Not for Public Disclosure)
       Sections I, II, III, IV, and VII ofthe Statement ofReasonsform must be completed in allfelony and Class A misdemeanor cases.

I.     COURT FINDINGS ON PRESENTENCE INVESTIGATION REPORT


       A. 13 The Court adopts the presentence investigation report without change.
       B. □ The Court adopts the presentence investigation report with the following changes: (t/se Section
                   (Check all that apply and specify Courtdetermination, findings, or comments, referencingparagraph numbers in the presentence report)

             1.    □ Chapter Two of the United States Sentencing Commission Guidelines Manual determinations by Court: (briefly
                        summarize the changes, including chariges to base offense level, or specific offense characteristics)




             2.    □ Chapter Three of the United States Sentencing Commission Guidelines Manual determinations by Court: (.briefly
                        summarize the changes, including changes to.victim-related adjustments, role in the offense, obstruction ofjustice, multiple counts, or acceptance of
                        responsibility)




             3.    □ Chapter Four of the United States Sentencing Commission Guidelines Manual determinations by Court: (briefly
                        summarize the changes, including changes to criminal history category or scores, career offender status, or criminal livelihood determinations)




             4.    n AAAitiOTl3\.CoianLi&tatsOYViYlAva.^S\(includecommentsorfactualfindingsconcerninganyinformationinthepresentencereport,
                        including information that the Federal Bureau ofPrisons may rely on when it makes inmate classification, designation, or programming decisions;
                        any other rulings on disputedportions of the presentence investigation report; identification of those portions ofthe report in dispute butfor which a
                        Court determination is unnecessary because the matter will not affect sentencing or the Court will not consider it)

       C. □ The record establishes no need for a presentence investigation report pursuant to Fed.R.Crim.P. 32.
            Applicable Sentencing Guideline: (ifmore than one guideline applies, list the guideline producing the highest offense level)                        ■         '

II.    COURT FINDINGS ON MANDATORY MINIMUM SENTENCE (C/,ec/c a//                                                 app/y)

       A. □ One or more counts of conviction carry a mandatory minimum term of imprisonment and the sentence imposed is at or
                   above the applicable mandatory minimum term.
       B. □ One or more counts of conviction carry a mandatory minimum term of imprisonment, but the sentence imposed is below
                   the mandatory minimum term because the Court has determined that the mandatory minimum term does not apply based on:
                   □ findings of fact in this case: (Spec/^;

                   □    substantial assistance (JS KS.C. f 5555(6);
                   □ the statiitory safety valve                    ^ 555509)
       C. □ No count of conviction carries a mandatory mirrimum sentence.

III.   COURT DETERMiNATION OF GUIDELINE RANGE: (BEFORE DEPARTURES OR VARIANCES)

       Total Offense Level: 13
       Criminal History Category: JII
       Guideline Range: (after application of§5Gl.l and §5GI.2)            18 to 24 months
       Supervised Release Range: 1 to 3 ypars
       Fine Range: $ $5,500 to $55,000

       13 Fine waived or below the guideline range because of inability to pay.
